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                        UNITED STATES DISTRICT COURT
                        OF THE DISTRICT OF COLUMBIA

MARCUS BYNUM, ET AL                         CIVIL ACTION NO. 02-956 (RCL)

              PLAINTIFFS                    NEXT EVENT:
                                            STATUS CONFERENCE
                   V.                       JUNE 27, 2005

GOVERNMENT OF THE DISTRICT

OF COLUMBIA,

             DEFENDANT



                          SETTLEMENT AGREEMENT

      This is a class action arising under § 1983 of the Civil Rights Act of 1871,

42 U.S.C. § 1983. Plaintiffs seek monetary damages and injunctive relief for

defendant’s alleged violations of the fourth, fifth and eight amendments to the U.S.

Constitution. The plaintiffs are prisoners of the D.C. Department of Corrections

alleging that the District of Columbia (hereafter also “District” or “D.C.”) has a

pattern, practice and policy of subjecting inmates to over-detention and subjecting

in-custody defendants ordered released at their court appearances to strip searches

upon their return to the D.C. Jail for processing of records and property before

release. The named plaintiffs are Marcus Bynum, Kim Nabinette, Leroy S.

Thomas, Dianne Johnson, Gloria Scarborough, and Julian Ford.

      The Over-Detention Injunctive Relief Class is defined as:
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(a) Each person who has been, is or will be incarcerated in any District of

Columbia Department of Corrections facility beginning in the three years

preceding the filing of this action on or about May 16, 2002 up to and until August

31, 2005; and (b) who was not released, or, in the future will not be released by

midnight on the date on which the person is entitled to be released by court order

or the date on which the basis for his or her detention has otherwise expired.

      The Over-Detention Monetary Relief Class is defined the same as above

except that it ends on August 31, 2005.

      The Strip Search Injunctive Relief Class is defined as:

Each person who, beginning in the three years, preceding the filing of this action,

up until the date this case is terminated, has been, is or will be (i) in the custody of

the Department of Corrections; (ii) taken to Court from a Department of

Corrections facility; (iii) ordered released by the court or otherwise became entitled

to release by virtue of the court appearance because the charge on which he had

been held was no longer pending or was dismissed at the hearing, was ordered

released on his own recognizance, or had posted bail, was sentenced to time

served, was acquitted or was otherwise entitled to release; (iv) was returned to the

DC Jail or CTF from court, to be processed out of Department of Corrections

custody; and (vii) was subjected to a strip search and/or visual body cavity search

without any individualized finding of reasonable or probable cause that he was



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concealing contraband or weapons; before being released, regardless of whether he

was over-detained.

      The Strip Search Monetary Relief Class is defined the same as above except

that it ends on August 31, 2005.

      In the interest of avoiding expense, delay and inconvenience of further

litigation of issues raised in this action, in the absence of any admission of liability

by defendant, and in reliance upon the representations contained herein, and in

consideration of the mutual promises, covenants and obligations in this Agreement,

and for good and valuable consideration, plaintiffs and defendant, through their

undersigned counsel, agree and stipulate as follows:

I.    Definitions and General Provisions

A.    Definitions

              1.     “Class Administrator” - A firm to be chosen by agreement of

                     the parties, or appointment of the court if the parties cannot

                     agree, to administer the claims process. Any firm so chosen

                     must specialize in such work.

              2.     “Plaintiff class” or “Class Member(s)” - All Class Members

              3.     “Named plaintiffs” or “Class Representatives” - The original

                     named plaintiffs in the Amended Complaint to this suit:




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      4.    “Claimant(s)” - Class members who actually file claims

            pursuant to the procedures set forth in this Agreement.

      5.    “Class Fund or Class Settlement” - Lump sum payment to be

            paid by the defendant, totaling $12,000,000, which will be paid

            and/or distributed and allocated as further described in this

            Agreement.

      6.    “Class Fund Attorneys' Fees” - That portion of the Class Fund

            awarded as attorney's fees and costs to Class Counsel.

            Litigation costs and the costs of class notice and administration

            shall constitute a separate cost and will be paid separately from

            the attorney's fees. The amount of these fees, which will be

            determined by the Court, will be paid from the portion of the

            Settlement Fund that is to be distributed to class members (as

            opposed to the reversion fund).

      7.    “Defendant” - The District of Columbia

      8.    “Department” - The D.C. Department of Corrections.

      9.    “Fairness Hearing” - The final hearing on the fairness of this

            Settlement in the District Court, at which the Court will

            determine whether to approve it.




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      10.   Named Plaintiffs' Distribution” - The amount of the Class Fund

            to be distributed to the Named Plaintiffs.

      11.   “Plaintiffs” - As the term “Plaintiffs” is used in this document

            and Exhibit B (the Preliminary Approval Order), it refers to all

            class members. In Exhibit D (the Final Approval Order), it

            refers to all class members who have not opted out.

      12.   “Preliminary District Court approval” - The date, following

            submission of this Settlement Agreement to the Court by the

            parties but prior to the conduct of a Fairness Hearing, on which

            the Court grants initial approval of the Settlement Agreement.

      13.   “Final District Court approval” - The date, following

            submission of this Settlement Agreement to the Court by the

            parties, and after conduct of a Fairness Hearing, on which the

            District Court grants final approval of the Settlement

            Agreement.

      14.   “Plaintiffs’ counsel,” “Counsel for plaintiffs,” or “Class

            Counsel” - The counsel of record for the plaintiff class. They

            are William Claiborne, Lynn Cunningham and Barrett Litt,

            Attorneys at Law.




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           15.   “Counsel for the parties” - Counsel for plaintiffs and counsel

                 for the defendant.

B.   General Provisions

     1.    This Settlement Agreement is not an order of the Court, but a

           contract, and all of its provisions are enforceable by the parties under

           contract law.

     2.    This is a hybrid class action, certified under Fed. R. Civ. P. 23(b)(2)

           with regard to seeking injunctive relief on over-detention and strip

           searches of inmates under the definition of the strip search class set

           forth, supra. Therefore, regarding prospective injunctive relief, no

           member of the class may opt-out. With regards to monetary relief, the

           class is certified under Fed. R. Civ. P. 23(b)(3) and class members

           have a right to opt out of the monetary relief stage. The parties agree

           that the monetary relief shall compensate for all alleged violations of

           rights and all claims and any other incidents of incarceration by the

           plaintiff class members that were or could have been brought in this

           civil action under any theory of liability for any claims related to

           allegedly unlawful over-detentions and strip searches, except as to

           monetary damages for those class members who choose to opt out.




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      3.        This Settlement Agreement comprises the full and exclusive

                agreement of the parties with respect to the matters discussed herein.

                This agreement incorporates and supersedes any other agreements.

                No representations or inducements to compromise this action have

                been made, other than those recited in this Agreement.

II.        Class-wide Prospective Relief

           A.        Strip Search Class

           1.     The plaintiffs’ claims for prospective relief regarding the strip

                  search class will be resolved by the D.C. Department of

                  Corrections’ plan to divert inmates ordered released or otherwise

                  entitled to release from the Superior Court of the District of

                  Columbia to a secure location outside of the open population of the

                  D.C. Jail or another location where they will not be subject to a

                  strip search, absent individualized suspicion, while the record

                  review for detainers and warrants and property retrieval are

                  conducted prior to release. This process shall be implemented on

                  or before August 31, 2005. The Monetary Relief Strip Search Class

                  will extend through that date.

           2.     The parties will defer the initiation of class notice until after

                  August 31, 2005.



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   3.    If the District has not accomplished the change in the strip search

         procedure by August 31, 2005, then any persons strip searched

         after that time will have a new claim for that subsequent search,

         which is not covered by this settlement.

   4.    In addition, in the scenario set forth in paragraph 3 immediately

         above, the Strip Search Injunctive Relief Class and class counsel

         will be free at that point to pursue additional litigation in this case

         to enjoin the District’s continuing Strip Search policy, and the

         District will be free to oppose it. Any fees awarded to the class as

         prevailing parties for such litigation shall be separate from the

         Class Fund Attorney’s Fees.

   5.    The parties note that the court has previously entered orders

         certifying both an Over-detention and Strip Search class; that no

         material modifications have been made to that definition; that the

         court has made the findings necessary to support the certification

         and no further findings are necessary in this regard; and that the

         Class Counsel listed above were appointed at that time as counsel

         for the class.




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       B.      Successors

               The terms of the Agreement shall each be binding on the

               Plaintiffs and the District of Columbia, and their successors and

               assigns, subject to the modification clause set forth in Section

               C, below.

       C.      Modification as a Result of Changes in Applicable Law

               The parties recognize that, following execution of this

               Agreement, there may be changes in controlling law that

               warrant modification. The Settlement Agreement shall be

               subject to modification by the Court upon the application of

               either party based on changes in applicable state or federal law

               after August 31, 2005, as it relates to injunctive relief. No

               modification shall apply as it relates to monetary relief.

III.   Class-wide Monetary Relief

       A.      Monetary Payments

              1. Within 45 days of the Final District Court approval of this

                 settlement, the District will pay the sum of $12 million (“the

                 Settlement Funds”), less the costs advanced by the District for

                 preparation and publication of the Class Notice and related



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              administrative expenses, which amount shall be deemed to be

              in exchange for a full and final release of all claims to be

              contained in the Final Order of Approval of Settlement. The

              payment will be such that the funds will be deposited and

              cleared through the appropriate accounts within that 45-day

              period. How the funds will be used and allocated is addressed

              in ¶¶ III (A)(3-6) below.

           2. If no appeal or a petition for writ of certiorari to the Supreme

              Court of the United States has been filed, then the settlement

              funds will be paid on the timetable set forth in the preceding

              paragraph. If an appeal or a petition for writ of certiorari to

              the Supreme Court of the United States has been filed, then

              the District shall distribute the Settlement Funds in

              accordance with the provisions of ¶¶ III (A)(3-6) below within

              30 days of the date that all appellate avenues of review have

              been exhausted, including Supreme Court review, if the

              settlement is ultimately approved. If the result of the appeal or

              Supreme Court review is that the settlement is not ultimately

              approved, then the case shall revert to active litigation, and the

              District shall have no responsibility to pay any Settlement



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              Funds not previously paid for the costs of class notice and

              related administrative expenses.

           3. The parties agree that $3 million of the $12 million payment

              referenced above will revert to the D.C. Department of

              Corrections to be spent on programs and services which relate

              to the subject of this complaint (hereafter “reversion fund”).

              These funds may be spent on new staff, services, construction,

              technology, equipment, programs or other activities otherwise

              necessary to improve or assist in processing inmates for

              release of inmates and to reduce incidents of over-detention

              and the need to strip search, without individualized suspicion,

              inmates who meet the definition of the strip search class. It is

              understood that the reversion fund exists to fund the

              injunctive relief changes necessary to eliminate the over-

              detentions and strips searches that are the subject of this

              lawsuit and will be for new programs or activities not

              previously budgeted (and specifically not as a part of the

              general budget). The mediators in the case will work with the

              parties to identify specifically how and when the reversionary

              amount will be spent. If, by August 31, 2005, the parties have



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              been unable to agree specifically how all of these funds will

              be spent, either side may submit its proposals to the Court,

              which will then decide how to spend any amount not

              otherwise agreed to based on the criteria set forth above. This

              decision will be binding and may not be appealed by either

              side.

           4. The parties agree that the injunctive relief objective of this

              agreement is the elimination of over-detentions and court

              release strip searches. To that end, the District will, for a

              period of two years, provide to Class Counsel annually a

              report on whether 1) it has strip searched any court returns

              entitled to release absent individualized reasonable suspicion

              to do so, and whether 2) it has released any detainees or

              inmates more than 24 hours after the time they become

              entitled to release, and the reasons therefore.

           5 The parties agree that the settlement amount shall include all

              attorneys’ fees and costs. Plaintiffs intend to submit a petition

              for attorneys’ fees and costs to the Court for the sum of $4

              million dollars. Defendant takes no position regarding the

              Plaintiffs’ petition for attorneys’ fees and costs. If the Court



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              awards less than $4 million for the plaintiffs’ attorneys’ fees

              costs, the remainder of the $4 million shall revert to the

              District of Columbia on programs and services that relate to

              the subject of this complaint, and shall be subject to the same

              terms as are set forth in ¶ III(A)(3) above.

           6. The parties agree that $5 million dollars of the settlement

              amount shall be used for the compensation of the plaintiffs

              and for the administration and distribution of the monetary

              compensation fund, including the claims verification

              procedure. The plaintiffs will develop a plan of distribution to

              address all of the plaintiffs’ claims and that plan shall be

              submitted to the Court for approval. The claims procedure

              shall include a verification process to ensure that claimants

              are members of one or both classes, and the length of the

              claimants’ over-detention. The Claims Administrator and

              Class Counsel will distribute this money according to the

              terms of the Final Order of Approval of Settlement. Plaintiffs

              shall use their best efforts to insure that distribution of the

              settlement amount will occur in such a way so that no residual

              amount (of the $5 million compensation fund) will remain



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                    following final distribution. However, if some residual

                    happens to remain after reasonable efforts to distribute funds

                    to class members who have filed claims have been exhausted,

                    the residual amount will revert to the reversion fund defined

                    in ¶ III(A)(3) above.

IV. Procedures for Approval of the Final Settlement Agreement

      A.    Application for Preliminary Approval

            The parties will apply for Preliminary Approval of the Settlement

            Agreement by June 16, 2005. At that time, the proposed Order of

            Final Approval of Settlement will be presented to the court. A hearing

            will be held within 30 days thereafter, at which time the court will

            make a preliminary determination that the settlement appears fair,

            adequate and just; determine whether it will approve the class notice;

            and set a date for the Fairness Hearing and any other dates that need to

            be determined.

      B.    Notice to Potential Claimants

            1. Application for Preliminary District Court approval shall occur as

               soon as is practicable. However, since the definition of the

               Monetary Relief classes (both Over-detention and Strip Search)

               extends through August 31, 2005, notice will be sent as soon as



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         practicable after that date. At that time, a copy of the Notice (set

         forth in Exhibit C) and the Claim Form (set forth in Exhibit D)

         shall be distributed to every person identified as a class member.

      2. Plaintiffs will distribute the Notice and Claim Form by first class

         mail to the last known address of each class member.

      3. The District will pay to the Class Administrator the costs of

         preparing and publishing the Class Notice and other expenses

         related to the publication and distribution of notice to the class.

         The Class Administrator shall provide an estimate of the costs of

         notice no later than July 20, 2005, and the necessary funds shall be

         paid to the Class Administrator no later than August 8, 2005, and

         supplemented in the event the Class Administrator provides a

         supplemental estimate. Any such payments shall be credited

         against the $12 Million Class Settlement. However, if for any

         reason this settlement is not ultimately approved, the District shall

         have no claim against Plaintiffs, the Class or Class Counsel for

         reimbursement of the costs of notice and related costs for which it

         advanced funds, except to be credited in any subsequent settlement

         of this case.




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      4. A modified and shortened form of the Class Notice shall be

         published by plaintiffs at least in the following newspapers:

         Washington Post, Washington Times and the City Paper, as well as

         such regional newspapers as plaintiffs shall determine, in

         consultation with the Class Administrator, are reasonably

         necessary to provide notice to the class, not to exceed three

         regional newspapers, unless plaintiffs obtain consent from

         defendants, which shall not be unreasonably withheld, or approval

         from the court. The notice shall be published twice a week for two

         weeks, in the section of the newspaper ordinarily devoted to local

         news. Publication shall occur on at least one Sunday for each

         newspaper with a Sunday edition.

      5. Defendant shall post the Notice on each Unit of the D.C. Jail and

         the Correctional Treatment Facility, along with extra copies of the

         Claim Form. The Notice shall remain posted until the period for

         class members to return the Claim Form has expired.

C.    Deadline for Submitting Claim Forms and to Opt Out

      1. The Class Notice shall advise Class Members that they must file a

         claim form or opt out by a date certain, or they will nonetheless be

         bound by the settlement, which date will be at least 60 days from



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         the time the initial notices are sent out. Any class member wishing

         to pursue a claim must file a Claim Form by that date in order to

         participate in the Class Distribution. Claim forms must be

         postmarked or received in hand by that date. Any class member

         wishing to opt out of this Settlement Agreement must similarly

         have either sent a an opt out letter postmarked, or delivered by

         hand, by that date.

D.    Submission of Materials Preliminary to the Fairness Hearing.

      Within at least 15 days before the Fairness Hearing, Plaintiffs will file

      a report with the Court on the number of claims received and the

      number of class members who have elected to opt out of the

      Settlement Agreement.

E.    Objections

      Any person who wishes to object to the terms of this Settlement

      Agreement will be required, not less than 30 days prior to the Fairness

      Hearing, to submit a written statement to the Court, with copies to

      counsel for the parties, setting forth his or her objections. The

      statement shall contain the individual’s name, address and telephone

      number, along with a statement of his or her objection(s) to the

      Settlement Agreement and the reason(s) for the objection(s). The



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           parties shall file a response to any such objections at least 15 days

           prior to the Fairness Hearing.

     F.    Severability

           The parties do not intend this Agreement to be severable; if it is not

           approved in its entirety, either side may withdraw from it within 10

           days of the court’s determination that it will not accept the settlement

           agreement as is and the court’s indication of the specific modifications

           to it, in which case this agreement will be null and void.

V. Administrative Issues

           1. Plaintiffs, acting through Class Counsel and the Class

              Administrator, shall have sole responsibility for determining the

              class distribution formula, the weight to be given to various

              factors, and the proportionate distribution between Over-detention

              and Strip Search Class members, for distribution of the monetary

              portion of the settlement going to class members, subject to

              ultimate approval approved by the Court. The Defendant shall take

              no position on these issues.

           2. The Distribution system that Plaintiffs will propose to the court

              will be a point system that will rely solely on on the information

              obtained from the Defendant’s (including Superior Court) records,



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         as supplemented by CSOSA records, with the exception of the

         Named Plaintiffs.

      3. No later than July 30, 2005, the District of Columbia shall make

         available, to the extent that such information has not already been

         provided, the name, address, social security number, date of birth

         and driver's license information of class members, to the extent it

         exists and is reasonably available from its records, to Class

         Counsel, to be forwarded to the Class Administrator in

         computerized form (to the extent it exists in computerized form),

         to facilitate locating class members. Such information shall be

         confidential, and may not be disclosed to anyone except counsel of

         record, the Class Administrator, and such representatives of the

         District of Columbia and, to the extent provided by court orders

         and agreement of counsel, counsel of record in Watson v. District

         of Columbia, Case No. 02-980 (GK-JMF). This information shall

         cover the class period until June 30, 2005. The period July 1 to

         August 31, 2005, shall be provided in a supplemental submission

         by no later than September 10, 2005.

      4. Defendant shall make available to plaintiffs’ counsel from the

         JACCS and CIS computer databases, and other databases, and



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         paper records, information reasonably necessary for administration

         and verification of claims, to the extent necessary and reasonably

         accessible.

      5. The Defendant undertakes to use reasonable efforts to assist

         Plaintiffs in obtaining from Court Services and Offender

         Supervision Agency (“CSOSA”) prior to the deadline for sending

         notice, upon a written request from Class Counsel the most recent

         address, social security number, date of birth and driver's license

         information, to the extent reasonably available, in computerized

         form, of the Class Members, so that the data can be provided to the

         Class Administrator.

      6. Plaintiffs will use their best efforts to insure that distribution of the

         settlement amount will occur in such a way as to insure that no

         residual amount of money will remain following final distribution.

         This will likely include a second round of distribution to class

         members who have filed claims for amounts allocated to class

         members who do file claims but then become unavailable. If some

         residual happens to remain after all reasonable efforts to distribute

         funds to class members who have filed claims have been




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               exhausted, stemming from the accrual of interest, for example, this

               will revert to the reversion fund defined in ¶ III(A)(3) above.

            7. The reversion of any portion of the class fund to the District of

               Columbia does not affect the amount of the class fund for purposes

               of determining the percentage of attorney’s fees to be paid class

               counsel (see Definition of Class Fund Attorney’s Fees, above) or

               the timing of that payment.

VI. Non-admission

         The plaintiffs allege in their Amended Complaint that the Department has

         engaged in a pattern and practice of over-detention and unlawful strip

         searching. Defendant denies those allegations. Entry of the Agreement

         does not operate as an admission of liability by the D.C. Department of

         Corrections or the District of Columbia of Plaintiffs’ allegations.

   VII. Amendments

         With the consent of the parties, additional provisions may be added to

         this Settlement Agreement if needed to assure appropriate

         implementation and court approval.

Signed and Agreed to by:



DATED: ____________________            ________________________
                                       RICHARD S. LOVE [340455]

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                                  Chief, Equity I



DATED: ____________________       ________________________
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DATED: ____________________       ______________________
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DATED: ____________________       __________________________
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DATED: ____________________       ___________________________
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